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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



                                                       Honorable Michael A. Shipp, U.S.D.J.

                                                       Civil Action No.: 3:15-cv-7658
     In re VALEANT PHARMACEUTICALS                     (MAS)(LHG)
     INTERNATIONAL, INC. SECURITIES
     LITIGATION                                        NOTICE OF MOTION FOR PRO HAC
                                                       VICE ADMISSION OF MARK FLINN
                                                       AND MEREDITH STEWART

                                                       MOTION DAY: August 19, 2019



             PLEASE TAKE NOTICE that on August 19, 2019, or as soon thereafter as

     counsel may be heard, the undersigned, counsel for Defendant J. Michael Pearson, shall

     move pursuant to Local Civil Rule 7.1 before the Honorable Michael A. Shipp, U.S.D.J.,

     United States District Court, District of New Jersey, at the Courthouse located at 402 East

     State Street, Trenton, New Jersey 08608, for an Order admitting Mark Flinn and

     Meredith Stewart, of the law firm of Debevoise & Plimpton LLP, to appear before this

     Court pro hac vice for the purpose of acting as counsel to Defendant J. Michael Pearson

     in this action.


             PLEASE TAKE FURTHER NOTICE that in support of this Motion, Defendant J.

     Michael Pearson shall rely upon the annexed Declarations of Mark Flinn and Meredith

     Stewart.
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            It is respectfully requested that the Court rule upon this Motion, without requiring

     the appearance of counsel, pursuant to Fed. R. Civ. P. 78.


            Pursuant to Local Civil Rule 7.1(d)(4), Defendant submits this statement in lieu of

     a submission of a formal brief. It is respectfully submitted that no brief in support of this

     Motion is necessary because the pro hac vice admission of Mark Flinn and Meredith

     Stewart under Local Civil Rule 101.1(c) is a matter within the sound discretion of the

     Court, and Defendant has submitted with this Motion Declarations of Mark Flinn,

     Meredith Stewart and Matthew Petrozziello in support of the admission.


            PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted

     with this application.


            Dated: New York, New York
                   July 26, 2019

                                            DEBEVOISE & PLIMPTON LLP

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                                                J. Michael Pearson




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